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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         Case No. 18-25429-Civ-COOKE/GOODMAN

  MAITE MARTINEZ,

         Plaintiff,

  vs.

  CHERRY BEKAERT, LLP,

        Defendant.
  ___________________________/
                          ORDER OF REFERRAL AND
              ORDER REGARDING COURT PRACTICES AND PROCEDURES
         THIS MATTER came before the Court upon the filing of the Complaint. The Court
  has reviewed the Complaint. To efficiently, expeditiously, and economically resolve this
  dispute, it is ORDERED as follows:
  I.     COUNSEL TO MEET AND FILE JOINT SCHEDULING REPORT
         1.      Plaintiff shall forward a copy of this Order to all defendants, upon notice of
  appearance of defense counsel.
         2.      Discovery in this case shall be conducted in accordance with the Federal
  Rules of Civil Procedure and Southern District of Florida Local Rules (effective December
  1, 2014), except that the deadlines under Local Rules 16.1 (d), (e), (h), (j), and (k), may be
  modified by further order of the Court.
         3.      In addition to complying with Local Rule 5.1, any motion and accompanying
  memorandum of law shall not exceed a combined length of twenty pages, all non-dispositive
  motions must be accompanied by a proposed order, and all motions, memoranda of law,
  proposed orders, and other documents created for the Court’s review shall be uploaded from
  a PDF document created within MS Word (and not from a scanned PDF document). Finally,
  motions, memoranda of law, proposed orders, and other documents created for the Court’s
  review must adhere to the following specifications:
                 a.     12 pt. Calisto MT font;
                 b.     One inch margins on all sides;
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                c.     1/2 inch tab setting;
                d.     1.5 Line Spacing;
                e.     Full Justified;
                f.     Conforming to the exemplar order at Attachment E to this Order;
                g.     Filed electronically with the corresponding motion; and
                h.     In the case of proposed orders, e-mailed as a Microsoft Word (.doc)
  document to cooke@flsd.uscourts.gov. The subject line of the e-mail shall include: (i) case
  number, (ii) case name, and (iii) docket entry number of the corresponding motion.
         Failure to comply with the foregoing requirements may result in the relevant motion
  being denied without prejudice.
         4.     Within forty-five (45) days of service upon the defendant(s), counsel shall file
  a Joint Scheduling Report and Joint Proposed Scheduling Order pursuant to Local Rule
  16.1(b)(2), with a complete service list containing the name, address, e-mail address, phone
  number, fax number, and party represented of each counsel.
         5.     Counsel for the parties shall meet in person or telephonically for a scheduling
  conference at least twenty-one (21) days prior to the date the above Joint Proposed
  Scheduling Order is due. At this conference, the parties shall accomplish the following: (1)
  determine the appropriate case management track for the action pursuant to Local Rule
  16.1(a)(2); (2) develop a case management plan which sets deadlines in compliance with
  paragraphs A, B, and C below; and (3) discuss settlement in good faith.
                A.     The Joint Scheduling Report shall include all information required by
  the eleven subsections, (A) through (K), of Local Rule 16.1(b)(2). Unilateral submissions
  are prohibited.
                B.     As an attachment to the parties’ Joint Scheduling Report, and in
  Compliance with Local Rule 16.1(b)(2), the parties shall jointly complete Attachment A to
  this Order. The parties shall insert the specific day, month and year for each listed deadline
  that applies to the parties’ case management plan. In completing Attachment A, the parties
  shall take into consideration the suggested pretrial deadlines set out in Attachment B to this
  Order. If the parties agree that one or more of the proposed deadlines (such as “expert
  witness deadlines”) are not appropriate for this action, they may strike the language and
  omit that proposed deadline in Attachment A. The parties’ proposed dates shall include: (1)
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  at least seventeen (17) weeks between the deadline for all pretrial dispositive motions and
  the proposed trial date; and (2) at least five (5) weeks between the deadline for the pretrial
  stipulation and the proposed trial date.
                  C.     As part of the Joint Scheduling Report, the parties shall jointly
  complete and file with the Court the Magistrate Judge Jurisdiction Election Form appended
  to this Order as Attachment C. The Court will not accept unilateral submissions in this
  regard; thus, a “Yes” should be checked only if all parties agree. If the parties consent to a
  full disposition of the case by the Magistrate Judge, including trial and entry of final
  judgment, the parties shall jointly file the election form appended to this Order as
  Attachment D.
         6.       The Parties must jointly select a mediator certified under Local Rule 16.2(b),
  and schedule a time, date, and place for mediation. In addition, the Parties must jointly file
  a proposed order scheduling mediation. If the parties cannot agree on a mediator, they shall
  notify the clerk in writing as soon as possible and the Clerk shall designate a certified
  mediator on a blind rotation basis. Counsels for all parties shall familiarize themselves with
  and adhere to all provisions of Local Rule 16.2. The parties shall complete mediation at
  least 30 days prior to the calendar call.
         7.       The foregoing information will aid the Court in its management of this case,
  including the expeditious resolution of any discovery disputes, and help the parties focus on
  the key issues of the case at an early stage in the proceedings. Accordingly, failure of the
  parties to file a joint scheduling report may result in dismissal, default, or the imposition
  of other sanctions, including attorney’s fees and costs.
  II.    EXPEDITED SERVICE
         It is further ORDERED and ADJUDGED that, in an attempt to expedite the
  processing of the action, Plaintiff shall serve the Defendant with a copy of the summons and
  complaint within sixty (60) days of the date of this Order. If Plaintiff is unable to do so,
  Plaintiff shall provide an explanation to the Court as to the reason why Defendant has not
  been served within the allotted sixty days and shall provide a detailed description of the
  attempts he has made to serve Defendant. Failure to comply with this Order may lead to
  immediate dismissal of this cause.
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  III.      REFERRAL OF CASE TO MAGISTRATE JUDGE
            This case is REFERRED to the Honorable Jonathan Goodman, United States
  Magistrate Judge for the Southern District of Florida, for appropriate resolution of all non-
  dispositive pretrial matters, as well as motions for attorney’s fees and costs and motions for
  sanctions, in accordance with 28 U.S.C. §§ 636(b)(1)(A) and (B). Motions in Limine and any
  motion affecting deadlines set by the Court's Scheduling Order are excluded from this referral,
  unless specifically referred by separate order.
            The Parties are notified that all subsequent pleadings bearing on matters referred to
  the Magistrate Judge shall be so designated by setting forth beneath the case number the
  identity of the Magistrate Judge to which the matter has been referred and the date of the
  Order of Reference. Parties must also abide by Magistrate Judge Goodman’s Discovery
  Procedures Order appended as Attachment F to this Order.
  IV.       NOTICE OF JOINT MOTIONS
            The parties are hereby notified that multiple Plaintiffs or Defendants shall file joint
  dispositive motions with co-parties unless there are clear conflicts of positions or grounds for
  relief.
            DONE and ORDERED in chambers, Miami, Florida, this 8th day of January 2019.




  Copies furnished to:
  Jonathan Goodman, U.S. Magistrate Judge
  Counsel of record
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                        Attachment A: Pretrial Deadlines, Pretrial Conference and Trial Date

___________             Joinder of parties and claims, and amendment of pleadings.
(INSERT DATES)
____________            Parties shall furnish opposing counsel with a written list containing the names and addresses of
all fact witnesses intended to be called at trial and only those witnesses listed shall be permitted to testify unless good
cause is shown and there is no prejudice to opposing party. The parties are under a continuing obligation to
supplement discovery responses within ten (10) days of receipt or other notice of new or revised information.

____________           All fact discovery must be completed.

____________           Plaintiff must furnish expert witness list to the Defendant, along with the summaries/reports
required by Fed. R. Civ. P. 26(a)(2), and only those expert witnesses shall be permitted to testify. Within the fourteen-
day period thereafter, Plaintiff shall make its experts available for deposition by Defendant.

____________            All dispositive and other pretrial motions not explicitly excluded by Local Rule 7.1(a)(1), and
accompanying memoranda of law must be filed. A minimum of seventeen (17) weeks is required for the Court to
review dispositive motions prior to filing of the joint pretrial stipulation. If no dispositive motions will be filed, clearly
note this fact in the Joint Scheduling Report.

____________           Defendant must furnish expert witness list to the Plaintiff along with the summaries/reports
required by Fed. R. Civ. P. 26(a)(2), and only those expert witnesses shall be permitted to testify. Within the fourteen-
day period thereafter, Defendant shall make its experts available for deposition by Plaintiff.

____________           All expert discovery must be completed.

____________         All Daubert and Markman motions and accompanying memoranda of law must be filed. If a
Daubert or Markman hearing is necessary, add that as an additional deadline at the bottom of Attachment A.

____________          Mediation must be completed. (The parties should select the earliest date to maximize resolution
of the case in a manner that promotes client and judicial economy.)

____________            (a) Joint pretrial stipulation must be filed pursuant to Local Rule 16.1(e). The pretrial stipulation
shall include Plaintiff’s non-binding breakdown of damages with corresponding amounts; the witness lists shall be
pared down to those witnesses the parties actually intend to call at trial; and the exhibit lists shall identify the witness
introducing each exhibit. The parties shall meet at least one (1) month prior to the deadline for filing the pretrial
stipulation to confer on the preparation of that stipulation. The Court will not accept unilateral pretrial stipulations,
and will strike, sua sponte, any such submissions; and

(b) Joint Summary of Respective Motions in Limine must be filed. The Summary shall contain a cover page providing
the style of the case and an index of the motions in limine. The Summary shall also include for each evidentiary issue:
(i) a one (1) page motion identifying the evidence sought to be precluded at trial and citing legal authority supporting
exclusion; and (ii) a one (1) page response to the motion providing a statement of the purpose for which the challenged
evidence would be offered and citing legal authority in support of admission of the challenged evidence. The parties
shall work together to prepare the Summary. Prior to submission of the Summary, the parties are encouraged to
resolve evidentiary issues through stipulation.

____________           Final proposed jury instructions (for jury trial) or findings of fact and conclusions of law (for
bench trial) must be submitted. (A courtesy copy shall be submitted to chambers at cooke@flsd.uscourts.gov, in Microsoft Word
format). Each party’s trial witness list, with one-sentence synopsis and time needed for direct and cross examination;
proposed voir dire questions; and deposition designations.

____________           Trial Date.
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                                     Attachment B: Suggested Pretrial Deadlines

31 weeks prior to        Joinder of parties and claims, and amendment of pleadings.
pretrial stipulation

21 weeks prior to        Parties shall furnish opposing counsel with a written list containing the names and addresses
pretrial stipulation     of all fact witnesses intended to be called at trial and only those witnesses listed shall be
                         permitted to testify.
18 weeks prior to        All fact discovery must be completed.
pretrial stipulation

16 weeks prior to        Plaintiff must furnish expert witness list to the Defendant, along with the summaries/reports
pretrial stipulation     required by Fed. R. Civ. P. 26(a)(2), and only those expert witnesses shall be permitted to
                         testify. Within the fourteen-day period thereafter, Plaintiff shall make its experts available for
                         deposition by Defendant.
17 weeks prior to        All dispositive pretrial motions and memoranda of law must be filed. A minimum of
pretrial stipulation     seventeen (17) weeks is required for the Court to review dispositive motion prior to filing of
                         the joint pretrial stipulation. If no dispositive motions will be filed, clearly note this fact in the
                         Joint Scheduling Report.
14 weeks prior to        Defendant must furnish expert witness list to the Plaintiff along with the summaries/reports
pretrial stipulation     required by Fed. R. Civ. P. 26(a)(2), and only those expert witnesses shall be permitted to
                         testify. Within the fourteen-day period thereafter, Defendant shall make its experts available
                         for deposition by Plaintiff.

12 weeks prior to        All expert discovery must be completed. If a Daubert or Markman hearing may be necessary,
pretrial stipulation     the parties are to add that as an additional deadline at the bottom of attachment A.

11 weeks prior to        All Daubert and Markman motions and accompanying memoranda of law must be filed. If a
pretrial stipulation     Daubert or Markman hearing is necessary, the parties are to add that as an additional deadline
                         at the bottom of attachment A.

10 weeks prior to        Mediation must be completed. (The parties should select the earliest date to maximize
pretrial stipulation     resolution of the case in a manner that promotes client and judicial economy.)

5 weeks prior to the     (a) Joint pretrial stipulation must be filed pursuant to Local Rule 16.1(e). The pretrial
Friday before trial      stipulation shall include Plaintiff’s non-binding breakdown of damages with corresponding
period                   amounts and other relief sought. The parties shall meet at least one (1) month prior to the
                         deadline for filing the pretrial stipulation to confer on the preparation of that stipulation. The
                         Court will not accept unilateral pretrial stipulations, and will strike, sua sponte, any such
                         submissions; and

                         (b) Joint Summary of Respective Motions in Limine must be filed. The Summary shall contain
                         a cover page providing the style of the case and an index of the motions in limine. The
                         Summary shall also include for each evidentiary issue: (i) a one (1) page motion identifying
                         the evidence sought to be precluded at trial and citing legal authority supporting exclusion;
                         and (ii) a one (1) page response to the motion providing a statement of the purpose for which
                         the challenged evidence would be offered and citing legal authority in support of admission of
                         the challenged evidence. The parties shall work together to prepare the Summary. Prior to
                         submission of the Summary, the parties are encouraged to resolve evidentiary issues through
                         stipulation.

Friday before Calendar   Final proposed jury instructions (for jury trial) or findings of fact and conclusions of law (for
Call                     bench trial) must be submitted. (A courtesy copy shall be submitted to chambers at
                         cooke@flsd.uscourts.gov, in Microsoft Word format). Each party’s trial witness list, proposed voir
                         dire questions, and deposition designations.
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                         Attachment C: Magistrate Judge Jurisdiction Election Form

                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          Case No. 18-25429-Civ-COOKE/GOODMAN

  MAITE MARTINEZ,

         Plaintiff,

  vs.

  CHERRY BEKAERT, LLP,

        Defendant.
  ___________________________/
                 ELECTION TO JURISDICTION BY A UNITED STATES
              MAGISTRATE JUDGE FOR FINAL DISPOSITION OF MOTIONS

         In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to the
  above-captioned civil matter hereby jointly and voluntarily elect to have a United States
  Magistrate Judge decide the following motions and issue a final order or judgment with respect
  thereto:
         1.      Motions for Costs                     Yes _____       No _____
         2.      Motions for Attorney’s Fees           Yes _____       No _____
         3.      Motions for Sanctions                 Yes _____       No _____


         ____________          ________________________________________
         (Date)                (Signature-Plaintiff’s Counsel)

         _____________         ________________________________________
         (Date)                (Signature-Plaintiff’s Counsel)

         __________            ________________________________________
         (Date)                (Signature-Defendant’s Counsel)
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                         Attachment D: Magistrate Judge Jurisdiction Election Form

                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          Case No. 18-25429-Civ-COOKE/GOODMAN

  MAITE MARTINEZ,

         Plaintiff,

  vs.

  CHERRY BEKAERT, LLP,

        Defendant.
  ___________________________/
                              ELECTION TO JURISDICTION BY
                      A UNITED STATES MAGISTRATE JUDGE FOR TRIAL

         In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to the
  above-captioned civil matter hereby jointly and voluntarily elect to have a United States
  Magistrate Judge conduct any and all further proceedings in the case, including trial, and entry
  of final judgment with respect thereto.

         ___________                   _________________________________
         (Date)                        (Signature-Plaintiff’s Counsel)

         ___________                   _________________________________
         (Date)                        (Signature-Plaintiff’s Counsel)


         ___________                   _________________________________
         (Date)                        (Signature-Defendant’s Counsel)

         ___________                   _________________________________
         (Date)                        (Signature-Defendant’s Counsel)
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                                    Attachment E: Exemplar Order

                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        Case No. 18-25429-Civ-COOKE/GOODMAN

  MAITE MARTINEZ,

          Plaintiff,

  vs.

  CHERRY BEKAERT, LLP,

        Defendant.
  ___________________________/

                                       TITLE OF ORDER
          THIS MATTER is before the Court on the [Plaintiff/Defendant, insert name(s),]
  Motion for [insert motion title], [ECF No. (insert docket entry number)], filed [insert date].
          The Court, having reviewed the Motion and being fully advised in the premises,
  hereby ORDERS and ADJUDGES as follows:
          [Insert text of proposed judgment and order].
          DONE and ORDERED in Chambers, Miami, Florida, this               day of [insert month]
  20__.



                                                     ___________________________________
                                                     MARCIA G. COOKE
                                                     UNITED STATES DISTRICT JUDGE


  Copies furnished to:
  Jonathan Goodman, U.S. Magistrate Judge
  Counsel of record
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                                             Attachment F

                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         Case No. 18-25429-Civ-COOKE/GOODMAN

   MAITE MARTINEZ,

           Plaintiff,

   vs.

   CHERRY BEKAERT, LLP,

         Defendant.
   ___________________________/
         MAGISTRATE JUDGE GOODMAN’S DISCOVERY PROCEDURES ORDER

           The following discovery procedures apply to all civil cases in which discovery is
   referred to United States Magistrate Judge Jonathan Goodman and where Judge Goodman
   is presiding over a case with full consent.

   OVERALL STATEMENT

           The Court designed these procedures to help the Parties and the Court work together
   to timely resolve discovery disputes without undue delay and unnecessary expense. The
   procedures are designed to (1) promote the timely internal resolution of discovery disputes
   by the parties themselves so that they have no need to seek judicial intervention, (2) help the
   parties obtain timely rulings to the extent they cannot on their own resolve their discovery
   disputes, (3) streamline the process of resolving discovery disputes by eliminating
   unnecessary motion practice, and (4) assist the Court by prohibiting the submission of
   motions and memoranda which are unnecessary, overly long or both.

   MEET AND CONFER

          Counsel must actually confer (in person or via telephone) and engage in reasonable
   compromise in a genuine effort to resolve their discovery disputes before filing a notice of a
   discovery hearing. In other words, there must be an actual conversation before a discovery
   hearing notice is filed. If counsel refuses to participate in a conversation, then the party
   seeking to a discovery hearing shall so state in the required certificate of conference and
   outline the efforts made to have a conversation.

           The Court may impose sanctions, monetary or otherwise, if it determines discovery
   is being improperly sought, is being withheld in bad faith or if a party fails to confer in good
   faith. Sending an email or telefax to opposing counsel with a demand that a discovery
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   response or position be provided on the same day will rarely, if ever, be deemed a good faith
   effort to confer before filing a discovery hearing notice.

   DISCOVERY CALENDAR AND NO DISCOVERY MOTIONS

           No written discovery motions, including motions to compel, for protective order, or
   related motions for sanctions shall be filed unless specifically authorized by the Court. 1
   Similarly, the parties may not submit legal memoranda concerning a discovery hearing
   unless the Undersigned specifically authorizes it. This procedure is intended to minimize the
   need for discovery motions. The Court will strike any unauthorized discovery motions and
   memoranda.

          If, after conferring, the parties are unable to resolve their discovery disputes without
   Court intervention, then the Court holds a regular discovery calendar every Friday
   afternoon. The party seeking the discovery hearing shall contact Chambers at (305) 523-
   5720 to place the matter on the next available discovery calendar. That party will be
   provided with available dates and will then confer with opposing counsel and confirm his or
   her availability for the discovery calendar. Once opposing counsel has confirmed
   availability, the party seeking the hearing will contact Chambers again to finalize the
   hearing date. [NOTE: The longer a party waits to contact Chambers to follow through after
   being provided with available times, the more likely it is that the hearing date will no longer
   be available. Therefore, the Court encourages parties seeking discovery hearings to follow
   through on a timely basis and confirm the hearing date.].

           On the same day that Chambers confirms that the matter is being placed on the
   discovery calendar, the party seeking the discovery hearing shall provide notice to all
   relevant parties by filing a Notice of Hearing and serving a copy on opposing counsel
   through the Court’s electronic docketing system. The Notice of Hearing shall briefly and
   succinctly identify the substance of the discovery matter to be heard. (For example, “The
   Parties dispute the appropriate time frame for Plaintiff’s Interrogatory Nos. 1, 4-7, and 10”
   or “The Parties disagree about whether Defendant produced an adequate 30(b)(6) witness
   on the topics listed in the notice.”) Ordinarily, no more than twenty (20) minutes per side
   will be permitted. The party scheduling the hearing shall include in this Notice of Hearing
   a certificate of good faith that complies with Southern District of Florida Local Rule
   7.1(a)(3). The Court will strike hearing notices which do not include a sufficient local rule
   certificate.

          The party who scheduled the discovery hearing shall provide the Court a copy of all
   source materials relevant to the discovery dispute, via hand-delivery or through a document

   1
           Nevertheless, if the parties wish to submit an agreed-upon discovery order, such as a
   standard confidentiality-type of protective order, then they shall (1) file a Notice of Proposed
   Stipulated Order with the proposed order attached to the notice and (2) submit a Word-
   version      courtesy       copy      to      the     Undersigned’s       CM/ECF         mailbox
   (goodman@flsd.uscourts.gov). This Order does not prohibit that submission because there
   is not a discovery dispute; instead, there is an agreement about a discovery issue.
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   that is emailed to the CM/ECF mailbox (goodman@flsd.uscourts.gov) on the date that the
   Notice of Hearing is filed. (For example, if the dispute concerns interrogatories, then the
   interrogatories at issue and the responses thereto, shall be provided.) Source material is the
   actual discovery at issue. Source material is not memoranda or letters to the Court which
   are, for all intents and purposes, a mini-brief. The opposing party may submit additional
   source material to the CM/ECF mailbox, as well.

           Neither the Notice of Hearing nor the source materials should be used as a de facto
   strategy to submit a memorandum. For example, sending multi-page, rhetoric-filled letters
   to the Court or filing argument-riddled notices are specifically prohibited. The Court will
   strike letters, notices, and exhibits which are designed to circumvent the no motion/no
   memoranda policy.

           If one or more of the parties believe in good faith that the discovery dispute is not a
   routine, garden-variety dispute and needs specialized attention, then the parties may include
   a to-the-point, no-more-than-one-paragraph explanation in the Notice of Hearing, to flag the
   specific issues. In addition, the parties may submit a “notice of authorities,” which will list
   only the authorities, but which will not contain argument or be a disguised memorandum.
   At most, the list of authorities may contain a one-sentence, objective summary of the
   relevant holding of each case or authority. The Court will strike any non-compliant notice of
   authorities.

           For those discovery disputes which are particularly complex (and there are not many
   of those) and which a party believes will require briefing, a motion for leave to file a
   discovery motion or memoranda may be filed. The motion should briefly explain the
   extraordinary need, but the actual discovery motion or memorandum should not be
   attached or filed unless the Court grants the motion seeking leave. The Court anticipates
   that the need for motions and/or memoranda will arise only rarely.

          The following topics are illustrations of discovery disputes which are usually not rare
   enough to bypass the standard no-motion policy and therefore would not ordinarily justify a
   motion for leave to file a discovery motion in a specific case absent extraordinary
   circumstances: (1) whether a party may take more than 10 depositions in the absence of
   consent; (2) whether a deposition may last more than 7 hours; (3) how a seven-hour
   deposition is allocated among the parties; (4) whether a 30(b)(6) witness was prepared to
   provide binding testimony on all the topics listed in the notice; (5) whether a noticed
   deposition is an “apex” deposition, and, if so, whether it will be permitted; (6) whether a
   party needs to arrange for a treating doctor to provide an expert witness report or if the party
   needs to make other written disclosures if the physician is expected to testify about the cause
   of an injury; (7) squabbles over the location of a deposition; (8) whether an attorney
   improperly instructed a deponent to not answer certain questions; (9) whether an attorney
   was improperly coaching a deponent; (10) whether a party or attorney may pay any money
   to a deponent or trial witness other than a standard witness fee, and, if so, under what
   circumstances and in what amounts; (11) whether a party may take “early” discovery; (12)
   whether a party exceeded the number of permissible interrogatories (and how should the
   sub-parts be counted); (13) whether an interrogatory answer is adequate or whether better
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   answers are required; and (14) whether a party engaged in a strategically unfair “document
   dump” which makes it difficult for a party to know which documents are responsive to a
   request. These are all routine discovery disputes which require the submission of only the
   Notice of Hearing, source material and, at most, an argument-free list of authorities.

           The Court expects all parties to engage in reasonable compromise to facilitate the
   resolution of their discovery disputes. The Court may impose sanctions, monetary or
   otherwise, if the Court determines discovery is being improperly sought or is being withheld
   in bad faith.

          These procedures do not relieve parties from the requirements of any Federal Rules
   of Civil Procedure or Local Rules, except as noted above.

   PRE-HEARING DISCUSSIONS

            The mere fact that the Court has scheduled a discovery hearing/conference does
   not mean that the parties should no longer try to resolve the dispute. To the contrary, the
   parties are encouraged to continually pursue settlement of disputed discovery matters. If
   those efforts are successful, then counsel should contact Chambers as soon as practicable so
   that the hearing can be timely canceled. Alternatively, if the parties resolve some, but not
   all, of their issues before the hearing, then counsel shall also timely contact Chambers and
   provide notice about those issues which are no longer in dispute (so that the Court and its
   staff do not unnecessarily work on matters no longer in dispute).

   EXPENSES, INCLUDING ATTORNEY’S FEES

          The Court reminds the parties and counsel that Federal Rule of Civil Procedure
   37(a)(5) requires the Court to award expenses, including fees, unless an exception (such as
   the existence of a substantially justified, albeit losing, discovery position) applies to the
   discovery dispute and ruling.

   NO BOILERPLATE DISCOVERY OBJECTIONS

                        “Vague, Overly Broad and Unduly Burdensome”

          Parties shall not make conclusory boilerplate objections. Such objections do not
   comply with Local Rule 26.1(e)(2)(A), which provides that, “[w]here an objection is made
   to any interrogatory or sub-part thereof or to any production request under Federal Rule of
   Civil Procedure 34, the objection shall state with specificity all grounds.” Blanket,
   unsupported objections that a discovery request is “vague, overly broad, or unduly
   burdensome” are, by themselves, meaningless, and the Court will disregard such objections.
   A party objecting on these bases must explain the specific and particular ways in which a
   request is vague, overly broad, or unduly burdensome. See Fed. R. Civ. P. 33(b)(4) (the
   ground for objecting to an interrogatory “must be stated with specificity”); Josephs v. Harris
   Corp., 677 F.2d 985, 992 (3d Cir. 1982) (“the mere statement by a party that the
   interrogatory was ‘overly broad, burdensome, oppressive and irrelevant’ is not adequate to
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   voice a successful objection to an interrogatory.”). Testimony or evidence may be necessary
   to show that a particular request is in fact burdensome.

          “Irrelevant or Not Reasonably Calculated to Lead to Admissible Evidence”

            An objection that a discovery request is irrelevant or “not reasonably calculated to
   lead to admissible evidence” is an outdated type of objection, as that language no longer
   defines the scope of discovery under Federal Rule of Civil Procedure 26(b)(1). The current
   version defines the scope of discovery as being “nonprivileged matter that is relevant to any
   party’s claim or defense and proportional to the needs of the case” -- and then lists several
   factors to analyze. The Court reminds the parties that the Federal Rules provide that
   information within this scope of discovery “need not be admissible in evidence” to be
   discoverable. See Fed. R. Civ. P. 26(b)(1); S. D. Fla. L. R. 26.1(g)(3)(A); Oppenheimer Fund,
   Inc. v. Sanders, 437 U.S. 340, 351-52 (1978).

                                    No Formulaic Objections

          Parties should avoid reciting a formulaic objection followed by an answer to the
   request. It has become common practice for a party to object on the basis of any of the
   above reasons, and then state that “notwithstanding the above,” the party will respond to
   the discovery request, subject to or without waiving such objection. Such a boilerplate
   objection and answer preserves nothing, and constitutes only a waste of effort and the
   resources of both the parties and the Court. Further, such practice leaves the requesting
   party uncertain as to whether the responding party fully answered. Moreover, the Federal
   Rules of Civil Procedure now specifically prohibit that practice (which was deemed
   inappropriate by many judges and commentators). For example, Federal Rule of Civil
   Procedure 34(b)(2)(C) now provides that an objection to a request for documents “must
   state whether any responsive materials are being withheld on the basis of that objection.” In
   addition, it also says that “an objection to part of a request must specify the part and permit
   inspection of the rest.” Therefore, counsel should specifically state whether the responding
   party is fully answering or responding to a request and, if not, specifically identify the
   categories of information that have been withheld on an objection-by-objection basis.

                                 Objections Based upon Privilege

           Generalized objections asserting attorney-client privilege or the work product
   doctrine also do not comply with the Local Rules. S. D. Fla. L. R. 26.1(e)(2)(B) requires
   that objections based upon privilege identify the specific nature of the privilege being
   asserted, as well as identify details such as the nature and subject matter of the
   communication at issue, the sender and receiver of the communication and their
   relationship to each other. Parties must review this Local Rule carefully, and refrain from
   objections in the form of: “Objection. This information is protected by attorney/client
   and/or work product privilege.” The Local Rule also requires the preparation of a privilege
   log except for “communications between a party and its counsel after commencement of the
   action and work product material created after commencement of the action.”
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           DONE AND ORDERED in Chambers, in Miami, Florida, this 8th day of January
   2019.




   Copies Furnished to:
   The Honorable Marcia G. Cooke
   All counsel of record
